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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


DAVID G. FEINBERG, et al., and all others
similarly situated,                                Civil Action File No.:
                                                     1:17-cv-427-JKB

                 Plaintiffs,
          v.                                  PLAINTIFFS’ OBJECTIONS TO
                                            MAGISTRATE JUDGE’S SEPTEMBER
T. ROWE PRICE GROUP, INC., et al.,             9, 2019 ORDER REGARDING
                                               DEFENDANTS’ REFUSAL TO
                 Defendants.                        PRODUCE CERTAIN
                                               ELECTRONICALLY STORED
                                                       DOCUMENTS
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                                     I.    INTRODUCTION

       On August 17, Plaintiffs filed, pursuant to prior conferences with Magistrate Judge

Coulson, a letter motion asking the Court to order Defendants to produce documents in the form

of Electronically Stored Information (ESI) that would be retrieved via a compromise proposal on

search terms that Plaintiffs specified in their motion. (Dkt. No. 107). On September 9, the

Magistrate denied Plaintiffs’ motion. (Dkt. No. 111). Plaintiffs object, pursuant to Fed. R. Civ.

P. 72(a), to the Magistrate’s order as being clearly erroneous and contrary to law on the

following grounds: (i) the order provides no reasoning to support denial of Plaintiffs’

compromise proposal, nor does it even discuss the substance of the proposal, but only general

features of the parties’ dispute and prior proceedings that are not relevant to the relief Plaintiffs

requested; (ii) the Magistrate ruled peremptorily before Plaintiffs had an opportunity to file the

reply brief permitted under local rules that would have corrected material erroneous and

misleading statements in Defendants’ response that the Magistrate assumed were correct; and

(iii) the Magistrate’s order contains erroneous statements of fact regarding the procedural history

and Plaintiffs’ claims.

       As is further discussed below, the compromise proposal set forth in Plaintiffs’ letter

motion should be granted. Defendants have thus far produced only 17,385 documents, roughly

half the number typically produced in cases such as this. Based upon Plaintiffs’ investigation to

date, there are approximately 3000 additional responsive documents that were retrieved by

Plaintiffs’ ESI search terms that Defendants have refused to produce. Defendants sole basis for

refusing to produce these additional documents has been an assertion of burden — that they

would have to review approximately 60,000 documents to locate them. But Plaintiffs’

compromise proposal should slash by well over 65% the number of documents Defendants

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would need to review to locate the 3000, which eliminates the basis for Defendants’ refusal to

produce. Under the circumstances, Defendants have clearly not met their burden of establishing

that they would suffer an undue burden to produce these documents, and that is the only basis

Defendants have asserted to resist the production.

                                      II.    BACKGROUND

A.     Case Background

       This class action lawsuit is an ERISA civil enforcement action brought pursuant to 29

U.S.C. §1132(a) (2)-(3) to remedy Defendants’ self-dealing and fiduciary breaches. Plaintiffs

are participants in the T. Rowe Price U.S. Retirement Program (“Plan”), a 401(k) plan. The

individual Defendants are high-level executives at T. Rowe Price Group, Inc. (“TRP”), and all

Defendants are alleged to be Plan fiduciaries. Pursuant to ERISA, Plaintiffs bring this action on

behalf of the Plan, to recover losses to the Plan.

       Plaintiffs allege that TRP and its affiliates, acting through its officers and employees,

engaged in illicit self-dealing by loading the Plan with its own in-house funds despite being

aware of many lower cost and better performing alternatives. By doing so, TRP reaped millions

of dollars in windfall profits, but cost its employees millions of dollars in excess fees, and

deprived them of millions more in retirement savings that they would have earned if the Plan

offered better performing funds. Plaintiffs also allege that Defendants failed to use the lowest

cost versions of their own funds in the Plan, which further enriched TRP and depleted

participants’ retirement savings. Defendants’ conduct breached the strict fiduciary duties

imposed on them by ERISA, which are “the highest known to the law.” Tatum v. RJR Pension

Inv. Comm., 761 F.3d 346, 356 (4th Cir. 2014).



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B.      Discovery to Date and What it has Revealed

        To date, Defendants have produced 17,385 documents.1 This is half as many as were

produced to Plaintiffs’ counsel in a similar recent ERISA case involving a similarly large,

sophisticated financial institution. However, through this limited production, and Defendants’

interrogatory responses, Plaintiffs have established key facts to support their case. These include

the fact that three members of the Plan Trustee committee, which had responsibility for making

Plan investment decisions, including the chair, were portfolio managers of some of the same

investment funds offered in the Plan to participants. They thus labored under a direct conflict of

interest, making decisions regarding whether their own funds would be offered to participants as

investments. Furthermore, contrary to ERISA fiduciary duties, Defendants made no effort to

mitigate this conflict of interest.2 For example, unlike virtually every other large 401(k) plan of

which Plaintiffs’ counsel are aware, the Plan Trustees did not obtain any outside or independent

advice regarding Plan investments. Failing to take appropriate steps to mitigate a clear conflict

of interest is a breach of fiduciary duties. Meyer v. Berkshire Life Ins. Co., 250 F. Supp. 2d 544,

567 (D. Md. 2003), aff'd, 372 F.3d 261 (4th Cir. 2004) (“When fiduciaries have dual loyalties,

they are obliged at a minimum to engage in an intensive and scrupulous independent


1
  Defendants inaccurately claim in their opposition to Plaintiffs’ letter motion that they “have
produced over 41,000 documents to Plaintiffs.” (Dkt. No. 110 at 3). But they explain in a
footnote that this figure is pure fiction: the “41,000 figure represents the non-de-duplicated, non-
threaded number of documents underlying Defendants’ production.” Id. n. 3 (emphasis added).
In other words, 41,000 documents have not been produced to Plaintiffs — Defendants’ figure
simply represents, according to them, an intermediate total in their production process that
resulted in the production of the 17,385 documents that Plaintiffs have actually received from
Defendants.
2
  As this brief is in the nature of an appeal brief, Plaintiffs are not supplying in this filing support
for the claims in this paragraph since that was not submitted to the Magistrate. However, they
would be happy to do so upon Court direction.

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investigation of their options to insure that they act in the best interests of the plan beneficiaries”

(internal quotation marks omitted)); Leigh v. Engle, 727 F.2d 113, 126–6 (7th Cir.1984) (same).

Plaintiffs are seeking additional documents to further develop the evidence in support of these

facts.

C.       Relevant Procedural History of the Instant Discovery Dispute

         Plaintiffs have not previously asked the Court (including the Magistrate) for the relief

described in their Letter Motion, nor, in fact, to require Defendants to produce responsive

documents retrieved by any ESI search.

         However, Plaintiffs had previously asked the Magistrate to require Defendants to provide

more information regarding Defendants’ ESI and ESI searches. This request was prompted by

Defendants’ refusal to provide written information regarding their search syntax (information

they have still not provided) and what is referred to as hit count data regarding Plaintiffs’

proposed ESI search terms. Plaintiffs wanted this data before agreeing to Defendants’ proposed

modifications of Plaintiffs’ ESI search proposal; Plaintiffs had not (and as of the date of this

filing have not) agreed to Defendants’ proposed changes.

         Plaintiffs made the request for additional information on May 23, 2019 via a letter

addressed to Magistrate Coulson “seek[ing] a court conference to assist in resolving” a discovery

dispute with Defendants regarding ESI. (Dkt. No. 85 at 1). This letter was expressly filed

pursuant to the Discovery Guidelines in this Court’s Local Rules, which provide that:

         …. Counsel may bring [an] unresolved [discovery] dispute to the Court’s
         attention by filing a letter, in lieu of a written motion, that briefly describes the
         dispute, unless otherwise directed by the Court.

                g. Upon being notified by the parties of the unresolved discovery dispute,
         the Court will promptly schedule a conference call with counsel, or initiate other
         expedited procedures, to consider and resolve the discovery dispute. If the Court

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       determines that the issue is too complicated to resolve informally, it may set an
       expedited briefing schedule to ensure that the dispute can be resolved promptly.

Local Rules, Appx. A, Guideline 1, §§f-g.

       The Magistrate granted Plaintiffs’ request for conference, and on June 14 presided over a

conference call with counsel for all parties. On June 17, the Magistrate issued an order denying

Plaintiffs’ request for the information they sought. (Dkt. No. 94). However, the Order indicated

that Defendants would provide Plaintiffs with additional information of another sort. Defendants

had run a modified version of an ESI search that Plaintiffs had proposed, but had contended that

it had retrieved too many documents. To remedy this alleged difficulty, Defendants had

unilaterally applied crude limiting expressions to all of Plaintiffs’ search terms, e.g. requiring

that certain unrelated words occur within 25 words of each other, to reduce the number of

documents retrieved by the search. Defense counsel asserted that these changes eliminated

approximately 60,000 documents, and that based upon their sampling methods, few of these

documents were responsive. The Magistrate’s order referred to these documents as the “ ‘delta’

document set,” (henceforth “delta set” or “delta document set”) presumably based upon the

convention of using the greek letter delta as shorthand for “change in amount.” The order

required that Defendants produce to Plaintiffs a sample of this set, of at least 600 documents, so

that Plaintiffs could make their own determinations regarding the responsiveness rate. The order

also provided:

       Further, the parties are ordered to confer within the next 10 days regarding their
       disagreement regarding the syntax of the search to see if there is a mutually-
       agreeable way to satisfy Plaintiffs’ remaining concerns without creating undue
       expense for Defendants.

(Dkt. No. 94 at 3).



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       The Magistrate’s order also contained various dicta, consisting of what amounted to

findings of fact regarding the negotiations between the parties. Plaintiffs strongly disagree with

many of these findings, which in many cases seem to accept Defendants’ characterization of

events at face value.3 For example, the Magistrate’s contention that Defendants did not act

unilaterally, (Dkt. No. 94 at 2), is not consistent with the facts established in the record that

       (i) Defendants modified Plaintiffs’ proposed search terms without consulting with
       Plaintiffs (Dkt. No. 85-6 at 2 (Defendants “have further modified [Plaintiffs’] proposed
       terms”);

       (ii) Plaintiffs rejected all those modifications because they had not been given any
       meaningful data upon which they could evaluate the changes and sought additional
       information as a basis for meaningful negotiations (Dkt. No. 85-7 at 2 (“Plaintiffs do not
       agree, and have not previously agreed, to any of Defendants’ proposed modifications of
       our search term,” and noting that “Defendants have previously refused our request to
       provide details regarding their vendor’s search algorithms” and requesting to meet with a
       representative of Defendants’ ESI vendor)); and

       (iii) Defendants did not provide Plaintiffs with any of the information they requested,
       went ahead with the search they proposed over Plaintiffs’ objections, and then claimed
       that negotiations had become moot because the search had already been done, (Dkt. No
       85-12 at 1 (asserting that Plaintiffs’ “attempt to reboot the negotiation at this late stage is
       unworkable…. Defendants’ production of documents is nearly complete”).

However, since Plaintiffs did not object to the substance of the order, i.e. that Defendants would

provide to Plaintiffs a sample of the “delta set of documents” and the parties would continue

conferring to attempt to reach a compromise regarding their disagreements on search syntax,

Plaintiffs did not file objections to the Magistrate’s June 14 order.4


3
  Plaintiffs were also surprised that the Magistrate made detailed findings of fact given that the
only record before him was Plaintiffs’ request for an informal conference and Defendants’
response to that request.
4
 Another instance in which the Magistrate’s order seems to simply accept Defendants’
characterization of their own conduct is when it quotes the following passage from one of
defense counsel’s letters:


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       Pursuant to the Magistrate’s order, the parties then met and conferred regarding search

syntax and Defendants produced their sample set of documents to Plaintiffs. In the course of

these discussions, Plaintiffs proposed exactly the type of compromise suggested by the

Magistrate’s June 14 order, i.e. one that satisfied “Plaintiffs’ remaining concerns without

creating undue expense for Defendants.” As discussed further below, under Plaintiffs’ proposal

Defendants would perform Plaintiffs’ proposed search on the “delta set” of documents; this

search accepts many of Defendants unilaterally imposed limiting expressions and should slash

the number of documents retrieved by at least 65%.5 Furthermore, the documents retrieved by

Plaintiffs’ search should have a considerably higher responsiveness rate than the delta set as a

whole. Plaintiffs also analyzed Defendants’ document sample of the entire delta set. That

analysis revealed that Defendants had significantly understated the responsiveness rate of the

sample, and accordingly their projection of the responsiveness rate of the delta set was similarly




       As has been our approach at every stage of this process, we are more than willing
       to discuss any specific concerns you have regarding the revised search terms we
       are using. Indeed, we are unaware of a single question you have that we have not
       responded to with respect to the searching process. But we are unable to
       formulate a tailored counter-proposal without further explanation from you as to
       your position.

(Dkt. No. 94 at 1). This statement is pure propaganda. At this stage, Plaintiffs had already asked
numerous questions, including repeatedly requesting information about Defendants’ search
process: hit count data for their searches, search syntax Defendants’ employed, and requesting a
meeting with a representative of their ESI vendor, so they could ask additional questions and
obtain additional information. All these requests for information were flatly refused by
Defendants, whose clear goal at that stage was to starve Plaintiffs of meaningful information and
then present them with a take it or leave it document production. (See Dkt. No. 85 at 3-4).
5
  As is is explained below and in Plaintiffs’ letter motion, the 65% figure is a projection based
upon data Defendants ultimately provided regarding the number of document hits on their search
strings.

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understated. This meant that the subset of documents to be retrieved under Plaintiffs’ proposal

should have an even higher responsiveness rate.

       Despite the reasonableness of Plaintiffs’ compromise proposal, Defendants rejected

almost all of it out of hand without offering any substantive basis for doing so or any alternative

proposal. (Dkt. Nos. 110-7 & 110-6). Plaintiffs filed their letter motion seeking approval of the

compromise proposal on August 19. (Dkt. No. 107). (Plaintiffs filed a letter motion, rather than

a formal motion, because the Magistrate had indicated during a July 1 conference call that he

wanted to continue informal procedures for filings in this matter). Defendants filed their

opposition a full 14 days later on September 3, apparently following the deadline under the local

rules for formal motions, and the Magistrate denied Plaintiffs’ letter motion by order dated

September 9. Under local rules, Plaintiffs were permitted to file a reply brief no later than

September 17. (LR 105(2)(a)). And, in fact, Plaintiffs had drafted and prepared a reply brief

correcting numerous inaccurate and misleading statements in Defendants’ opposition, which they

had intended to file later on September 9.

                                  III.   LEGAL STANDARDS

       Standard for Review of Objections to a Magistrate’s Order

       A district judge must consider timely objections to a magistrate judge’s ruling on a

nondispositive pretrial matter. Fed. R. Civ. P. 72(a). Discovery motions, such as the one at issue

here, are “quintessential non-dispositive motions.” United States v. Performance Food Grp., No.

CV MJG-13-1712, 2016 WL 1028019, at *1 (D. Md. Mar. 15, 2016). The reviewing judge must

“modify or set aside any part of the order that is clearly erroneous or is contrary to law.” Fed. R.

Civ. P. 72(a); see also Local Rule 301.5(a) (D. Md. 2016); 28 U.S.C. § 636(b)(1)(A). “The

‘clearly erroneous’ standard applies to factual findings, while legal conclusions will be rejected if

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they are ‘contrary to law’.” Sky Angel U.S., LLC v. Discovery Commc’ns, LLC, 28 F. Supp. 3d

465, 479 (D. Md. 2014) (quoting MMI Prods. v. Long, 231 F.R.D. 215, 218 (D. Md. 2005)),

aff'd, 885 F.3d 271 (4th Cir. 2018). Under the clearly erroneous standard, the Court is “only

required to determine whether the magistrate judge’s findings are reasonable and supported by

the evidence.” Huggins v. Prince George’s Cnty., 750 F. Supp. 2d 549, 559 (D. Md. 2010).

       A reviewing “judge ... shall make a de novo determination of those portions of the

[magistrate judge’s] report ... to which objection is made.” 28 U.S.C. § 636(b)(1); see also

Thomas v. Comm’r, Soc. Sec., No. CIV. WDQ-10-3070, 2012 WL 670522, at *4 (D. Md. Feb.

27, 2012). The judge “may accept, reject, or modify, in whole or in part, the findings or

recommendations,” and “may also receive further evidence or recommit the matter to the

magistrate judge with instructions.” Id.

       Standard for Compelling Production of Documents

       A party that has propounded a request for production of documents under Fed. R. Civ. P.

34 may move to compel production where a party fails to produce the requested documents.

Fed. R. Civ. P. 37(a)(3)(B)(iv). The discovery rules are construed liberally in favor of the party

seeking discovery. Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978); see also Nat'l

Union Fire Ins. Co. of Pittsburgh v. Murray Sheet Metal Co., 967 F.2d 980, 983 (4th Cir. 1992)

(“the discovery rules are given ‘a broad and liberal treatment’ ”) (quoting Hickman v. Taylor,

329 U.S. 495, 507 (1947)). “Generally, the burden is on the party resisting discovery to clarify

and explain precisely why its objections are proper given the broad and liberal construction of

the federal discovery rules.” Sky Angel U.S., LLC v. Discovery Commc'ns, LLC, 28 F. Supp.

3d 465, 482 (D. Md. 2014), aff'd, 885 F.3d 271 (4th Cir. 2018).



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                                       IV.     ARGUMENT

A.     Specific Objections to the Magistrate’s Order

       1.      The Magistrate’s Order Contains No Relevant Reasoning to Support its Denial
               of the Relief Requested in Plaintiffs’ Letter Motion

       The Magistrate’s September 9 order denying Plaintiffs’ letter motion misses the point of

that motion and misunderstands the procedural history of the dispute.

       As discussed above, in Plaintiffs’ request for conference, Plaintiffs had sought to have the

Magistrate require Defendants to provide additional information about their ESI process. The

Magistrate’s June 17 Order denied Plaintiffs’ request for the specific information they sought,

but also indicated that Defendants would provide Plaintiffs additional information of another

kind. Since that Order had resolved the issue regarding what additional information Defendants

would provide, Plaintiffs next step was to determine what, if any, specific actions or additional

production they would request from Defendants.

       Plaintiffs’ Letter Motion set out for the Magistrate, for the first time, the specific

additional production Plaintiffs were requesting. As discussed above and in the motion, far from

asking Defendants to “redo” their process or any of their production, it simply spells out limited

changes to Defendants’ search terms that could be rerun on the c. 60,000 document delta

document set Defendants had already identified, to produce a much smaller subset of documents

— one that should be at least 65% smaller than the original delta document set. Furthermore, for

the reasons set out in the motion and further discussed below, that smaller subset would almost

certainly have a significantly higher responsiveness rate than the much larger initial delta

document set. Defendants would then produce to Plaintiffs responsive documents within that

document subset.


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       The Magistrate’s order sets forth no relevant reasons to reject this proposal because all

the responsiveness rate and other data it cites to only concerns the much larger initial delta

document set, and the same is true for Defendants’ opposition and other correspondence. The

Magistrate appears to have simply ignored the fact that what Plaintiffs seek to have produced is a

much smaller body of documents than the initial delta set, and the fact that that smaller body of

documents should have a significantly higher responsiveness rate. Both these facts are obviously

material to the issue before the Magistrate: whether Defendants had demonstrated an undue

burden sufficient to justify their refusal to produce responsive documents. See, e.g., Sky Angel

U.S., LLC v. Discovery Commc’ns, LLC, 28 F. Supp. 3d 465, 482 (D. Md. 2014), aff'd, 885

F.3d 271 (4th Cir. 2018), (“Generally, the burden is on the party resisting discovery to clarify

and explain precisely why its objections are proper given the broad and liberal construction of

the federal discovery rules” (internal quotation marks and citations omitted)).

       An example of the Magistrate’s clear error in failing to consider what Plaintiffs had

actually proposed is his unqualified statement, with no citation to the record, that “Plaintiffs

proposed replacing the ‘within 25 words of’ limiter with ‘and,’ and dispensing with the limiters

‘T.Rowe,’ ‘TRowe,’ or ‘TRP’.” (Dkt. No. 111 at 2). This statement is materially inaccurate.

The very heart of Plaintiffs’ compromise proposal was that Plaintiffs were not proposing

removing those limiting expressions on all the search strings. As was carefully explained in

Plaintiffs’ letter motion, Plaintiffs sought to have those limiters removed only on a select group

of search strings that (i) Defendants’ own hit count data showed were retrieving relatively few

documents to begin with, and (ii) contained words of uncommon occurrence that would be

highly likely to occur only in responsive documents. (Dkt. No. 107 at 4). The data that the

Magistrate then cites as “rebutting” Plaintiffs’ proposal, (Dkt. No. 111 at 2), in fact only

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addresses his misstatement of Plaintiffs’ proposal since it concerns the entire delta set, and is not

relevant to what Plaintiffs actually proposed.6

          2.     The Magistrate Ruled Peremptorily Before Plaintiffs had an Opportunity to
                 File the Reply Brief Permitted under Local Rules

          Local Rules permit the moving party to file a reply brief in support of its motion “within

fourteen (14) days after service of the opposition memoranda.” Rule 105(2)(a). As noted above,

the Magistrate allowed Defendants the full 14 days under the local rules to file their opposition to

Plaintiffs’ letter motion, but then ruled on the letter motion a full eight days before Plaintiffs’

reply brief would have been due. While this might have been understandable or acceptable in a

situation in which the relief sought was routine, the law straightforward, and the facts simple or

undisputed, none of those were the case here. Under the circumstances, the Magistrate’s action

was unfair to Plaintiffs, and arguably a due process violation.




6
    The Magistrate’s order also dismisses a small part of Plaintiffs’ proposal as follows:

          Second, Plaintiffs sought to modify certain search strings by adding new search
          terms. (ECF No. 110-6 at p. 3). The Court views this as beyond the “syntax”
          discussion that it directed.

(Dkt. No. 111 at 2). The Magistrate’s description of this portion of Plaintiffs’ proposal is
misleading, and once again he cites to Defendants’ brief as his source for what Plaintiffs are
requesting. The so-called new search terms simply add a few additional words to Defendants’
pre-existing search strings to assist in locating documents relevant to whether Defendants
employed, or considered employing, an independent investment consultant. (Dkt. No. 107 at 5-
6). The only sense in which they are “new” is that they were not included in Plaintiffs’ original
January 2018 search term proposal, Dkt. No. 85-1, but that was only presented as a basis for
negotiations and the parties have not come to an agreement since that time regarding search
terms. Further, the Magistrate once again offers no meaningful basis to reject the proposal. He
simply states it was beyond the scope of what he had previously directed. But so what? The
issue should be, as noted above, whether Defendants have demonstrated an undue burden that
excuses them from performing a reasonable search for responsive documents.

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       3.      The Magistrate’s Order Contains Erroneous Statements of Fact regarding the
               Procedural History and Plaintiffs’ Claims

       The Magistrate’s September 9 Order makes several assertions regarding Plaintiffs’ claims

and the procedural history of this matter that are largely adopted from Defendants’ Opposition.

These assertions include numerous errors; some of these errors have been noted above,

additional errors are noted below.

       The order states “[w]hen this dispute first surfaced, Plaintiffs urged that Defendants

should re-do their process largely because Defendants’ modifications to Plaintiffs’ proposed

initial search terms left behind a meaningful number of responsive documents.” (Dkt. No. 111 at

1). This statement, which has no citations to the record, is completely inaccurate. As described

above in the procedural history section of this brief, what the Magistrate refers to as “this

dispute” first arose via Plaintiffs’ request for an informal discovery conference through which

Plaintiffs sought to have the Court require Defendants to provide Plaintiffs additional

information (hit count data on Plaintiffs’ original search terms), so they could engage in

meaningful negotiations with Defendants regarding search terms. Plaintiffs never took the

position in their initial filings, or at the teleconference, that Defendants needed to “re-do their

process” because what Plaintiffs were in fact seeking was additional information, and what

additional actions or documents they might eventually seek from Defendants would depend on

what the additional information dictated.

       The Magistrate next states that in his June 17 order he “found Defendants’ methodology

to be compliant with the Federal Rules of Civil Procedure.” (Dkt. No. 111 at 1). This is another

inaccurate characterization adopted from Defendants’ opposition. Plaintiffs’ initial request for

conference never mentions the Federal Rules of Civil Procedure – it only mentions electronic

discovery guidelines of this Court’s local rules. (Dkt. No. 85 at 1). The only mention of the
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Federal Rules in the Magistrate’s June 17 holding is in characterizing the holding of another

case. The Magistrate contended that in that case the court had found that a request for

information similar to what Plaintiffs sought “was beyond Rule 26.” (Dkt. No. 94 at 2). Hence,

while it is arguable that the Magistrate had found that Defendants’ refusal to provide the

information Plaintiffs requested did not violate the Federal Rules, there is no support for the

Magistrate’s contention that the order constituted a sweeping finding that Defendants’ entire

“process” (whatever exactly that vague term encompasses) complied with the Federal Rules.

Furthermore, to the extent the Magistrate made such a finding, it would be dictum and

inappropriate since Plaintiffs had never brought that issue before the Magistrate, or even

mentioned or briefed it, in their request for conference.

       Further, regarding the responsiveness rate of the sample of documents from the original

delta set, the Magistrate states “Plaintiffs allege that 29 (rather than 4) of the documents in the

sample were responsive, for a responsiveness rate of 2.93% to 5.86%.” (Dkt. No. 111 and 1).

This statement is erroneous and is also revealing of the Magistrate’s process in coming to his

decision: rather than citing Plaintiffs’ letter motion to support a claim about what Plaintiffs

allege, it actually cites Defendants’ opposition brief. In any event, what Plaintiffs stated in their

letter motion was:

       … Defendants claim to have found only four responsive documents…while
       Plaintiffs review uncovered an additional 29. (See Ex. B, which is a table listing
       Bates numbers of additional documents Plaintiffs found to be responsive…).

(Dkt. No. 107 at 3 n. 4 (first and third emphasis added)). As can be seen, Plaintiffs plainly stated

that they had found an additional 29 documents, which would make for a total of 33 documents

together with the four Defendants had already identified. The Magistrate’s statement that

Plaintiffs allege they found only 29 responsive documents in the sample is thus clearly incorrect.

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B.     The Court Should Order that Defendants Search for and Produce Documents
       Pursuant to Plaintiffs’ Reasonable and Carefully Crafted Compromise Proposal

       As set forth above, the Magistrate’s opinion contains numerous errors. However, that

fact alone does not of course establish that the relief requested in Plaintiffs’ letter motion should

be granted. The reasons it should be granted are summarized below and more fully set out in

Plaintiffs’ Letter Motion (Dkt. No. 107).

       1.      The Number of Responsive Documents at Issue is Substantial

       The number of responsive documents at issue is substantial. As discussed in Plaintiffs’

letter motion, Plaintiffs believe the number of responsive documents in the delta set to likely be

between 1739 and 3481 based upon the sample Defendants provided to Plaintiffs. (Dkt. No. 107

at 3). Plaintiffs also expect, for reasons also set out in the Letter Motion, that most of these will

be included in the subset of the delta set that would be identified under their compromise

proposal. As noted above, to date, Defendants have produced only 17,385 documents, so these

additional documents would potentially constitute a 20% increase in the number of responsive

documents Defendants have produced.

       2.      Plaintiffs’ Compromise Proposal Eliminates the Purported Undue Burden on
               Defendants

       Second, there is no reasonable dispute that Defendants have an obligation to produce

these responsive documents to Plaintiffs absent some valid objection, which they have the

burden to establish. See, e.g., Sky Angel U.S., LLC v. Discovery Commc’ns, LLC, 28 F. Supp.

3d 465, 482 (D. Md. 2014) (“Generally, the burden is on the party resisting discovery to clarify

and explain precisely why its objections are proper given the broad and liberal construction of

the federal discovery rules” (internal quotation marks and citations omitted)), aff'd, 885 F.3d 271

(4th Cir. 2018). The only objection Defendants have raised is that it would be unduly

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burdensome for them to produce these documents. But this objection fails for the following

reasons.

       First, all the facts Defendants adduce to show undue burden concern the entire delta set of

approximately 60,000 documents. Plaintiffs have never sought to have Defendants review the

entire delta set for responsive documents. Plaintiffs’ compromise proposal would, based on the

hit count data that Defendants themselves have provided, slash the set of documents to be

reviewed by at least 65% to approximately 20,000 documents.7 (Dkt. No. 107 at 3-4). The

number of documents that would needed to be independently reviewed is likely much smaller

still. Defendants indicated in their opposition to the Letter Motion that the 17,385 documents

produced to Plaintiffs to date is based on an “underlying” production of 41,000 documents that

was reduced in number via the process known as de-duplication as well as threading. (See n. 1,

supra). Further, based on Plaintiffs’ review of Defendants’ document sample from the entire

delta set, discussed above, a substantial portion of the documents in the subset will likely be

empty or dummy documents, which will not have to be reviewed at all. This suggests that the

number of documents that would need to be independently reviewed may be well under 10,000.




7
  Defendants’ repeatedly make the misleading claim that Plaintiffs’ compromise proposal seeks
to have Defendants “redo 75% of their ESI searches.” (Dkt. No. 110 at 4; see also Dkt. No. 110-
6 at 1 (Plaintiffs are proposing “to reverse wholesale our edits to more than 75% of the search
strings”)). This figure refers to a simplistic counting of the number of rows that would be
affected in the spreadsheet Defendants’ generated to summarize hit count data. (See Dkt. No.
107-3). This figure is misleading because it ignores the fact that (i) these rows vary dramatically
in the number of documents they retrieve, e.g. row 115 produces 10,214 document hits, while
seven search strings in other rows produce between zero and 25 documents, see id.; (ii) when
weighted by number of documents, Plaintiffs’ proposal removes limiters on search strings that
constitute only 35% of the document hits in the spreadsheet, see id., and (iii) these searches are
of course performed electronically, and take only seconds to complete, so the percentage of
search strings that are being modified is no indication of burden on Defendants.

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       Second, as noted above, the responsiveness rate of the documents in this smaller subset

should be considerably higher than the delta set as a whole. This is because, as explained in

Plaintiffs’ Letter Motion, under Plaintiffs’ proposal, Defendants’ limiting expressions will be

retained on all those search strings with frequently occurring words that generate many hits on

non-responsive documents, such as “option,” “profit,” “invest,” “fund,” “fee,” “bond,” and

“asset.” (Dkt. No. 107 at 4). On the other hand, Defendants’ limiting expressions would be

removed only from infrequently occurring words that are likely to retrieve a high proportion of

responsive documents, these include words that Plaintiffs have already found being used by

Defendants to discuss issues at the heart of this case, including “watchlist,” “hardwire,” “in-

house,” and “self-dealing.” Id.

       Under these circumstances, where a relatively modest number of documents would need

to be reviewed to retrieve numerous responsive documents that may go to the heart of this case,

there is no undue burden on Defendants and they must produce the documents that would be

retrieved via the methodology described in Plaintiffs’ letter motion. Courts frequently find such

additional document production warranted in a variety of similar circumstances.8


8
  Washington-St. Tammany Elec. Cooperative, Inc. v. La. Generating, L.L.C., 2019 WL
1804849, at *11 (M.D. La. 2019) (where it was unclear whether the original ESI search
contained certain bidders, the Court ordered plaintiffs, if terms were omitted, to run an additional
ESI search and make a supplemental production); Flynn v. FCA US LLC, 2019 WL 1746266, at
*3 (S.D. Ill. 2019) (ordering Defendants to provide all relevant communications after a
responsiveness review that omitted certain relevant communications); In re Arby's Restaurant
Group Inc. Litig., 2018 WL 8666473, at *3 (N.D. Ga., 2018) (ordering defendant Arby’s to
produce relevant results of ESI searches for two additional custodians); Digital Ally, Inc. v.
TASER Int’l, Inc., 2018 WL 4334297, at *2–3 (D. Kan. 2018) (modifying an ESI search in
response to plaintiff’s argument that the search was too broad and defendant’s argument that the
counterproposal was too narrow); Fenerjian v. Nong Shim Co., Ltd, 2016 WL 1019669, at *6
(N.D. Cal. 2016) (granting Defendants’ motion to compel an additional ESI search with five new
search terms); Westdale Recap Properties, Ltd. v. NP/I & G Wakefield Commons, L.L.C., 2013
WL 5424844, at *5–6 (E.D.N.C. 2013) (plaintiffs showed good cause for ordering supplemental

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                                      V.     CONCLUSION

       For the reasons stated above, Plaintiffs’ objections to the Magistrate’s September 9, 2019

order denying Plaintiffs’ letter motion should be sustained. This Court should also order that the

Letter Motion should be granted, or, in the alternative, that the Magistrate’s order be vacated and

this matter remanded to the Magistrate for him to reconsider Plaintiffs’ Letter Motion and

provide detailed reasons for any conclusion, including whether he believes Defendants have met

their burden of showing that they have sufficient cause to refuse production of the over 3000

responsive documents that may be at issue.

                                             Respectfully Submitted,

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searches and production based on provisions in the ESI protocol); Federal Deposit Ins. Corp. v.
Giannoulias, 2013 WL 5762397, at *2 (N.D.Ill., 2013) (Court required FDIC to add additional
search terms).

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